Case 1:21-cv-00211-MW-GRJ Document 2-1 Filed 12/22/21 Page 1 of 25

EXHIBIT A
 

 

 

EER ars MUN ToS ACath Malic nly bere Oe
1 i i coo a bo 2 .
' ute HP ay peel nie ee Ve) Bes cll|
mec Seal ball Me ath ae i MTA ek ed pci
Mi) ps Sls i! (hy ee Ne Wes E ce Poe le Pe eal a = =
il = eT OM pees be i “ =e |) ae ee el ; rie id P
eae) (lle HP PANE ts Cl UI fawe [ly oe hee Soe Nis gee Cormeen tes ie ele i a
| TI mi P Sill ! 1 oil Ls Ch Hi =i ; a i r- i. = ae is = oe =a : i :
ih ann ols | fit rit Pry ‘om My i L a | util r ha Ab = = i ™ =i oS 5 s a 7 Tyee tiie f oT ie é
{17 ut aa of) pet _ ae te =. if os nt a ram, rt Bed fie i ae = D
\" : + pee ar Pe ee pe eae Sa ee re es a ee poets ie G
| J - ; - J = 7 5 - = | aie Pes aol oat as alll eer ad ges i"
| {V1 Pq i | nw sy Ey >! = i =, : toot see sae efit 4
| 7 iF Fay a a a ee oe i - =<
| 1 | -! ot F ej i = — —— = F pata t
= F S = “iF ™ a
it H = ai, ; ah a o fe =e
‘ = i rly
STF ry ene ert ole hale Beate aL eee ara can PR rg A eo a er amo Cl
i | | |
[hi :
a |
iW] i et eee i cc} atc oa afoot) cintipe ieee hee) tery yp er re pr me ee eee le a eer ee ee ae te gee Petter ig eee ryt a ey aa ee ea a ef sete TE pa ee ae aad Pt ee cme OL Ata pe peek eS Ree all et GR a ee ee | et rd
E | |
| |
é | |
iW
|
FETT MOURA UH Gah UI TM CTLATV TARR PRTPTRPeMTTL) eUcevee UTE) URRY SDP Mr SN LE EU AT Tei TE eT tT lee LUT accept ea Lill MC abi cabo GALA MPI) ee de Pct ie MiPh CFT HPREM Pech ae Ue Wl a ane A cP eae ci rr A enn ele ie en lee
pT
Il]
|| F: is = “J re 7 eel ea ' re
if fF Se ee i pel ee ee ee ee
| = x a nie fe ee Sere Ft ee ene :
a” = cE = a pel 2 eZ pe ee .
a Fs ee per as ae ra tm il =
ae oa ol .
get Nal ae a ee
=i hee

crue

 

Tene ea

:
;

=
é
")

ata

 

 

/ h i i

MA Co ae
v
ail
I

aT

inh
2d ee

 

Tye
F he

J $a

Case 1:21-cv-00211-MW-GRJ Document 2-1 Filed 12/22/21 Page 2

co ee | a = ey
ee ee Le —_ ale
aia = _

a

cnet nial
Po haw as
a el

= tit, aa SL ee ee tet ol

a ee ee

- = = + Li
Cr ee a a
Lr i Oe

 

Lr wre ee
en at i la a ee =
Sed ie a a epee ae aa
ale pH) =e pratense s Ta
eo ee ee ee ee ee

 

 

= ee aaieselh = sik! ieee ‘ . eT a
bie Poe es all ee ee 5 Ls ee
et a a oe ae ay cil

 

= i
= = i
eet eet)

ee eee eh ~ tm
ee ee
ee

=n

 

ry

 

      

' ot es Ce e
See bolts ee cit tees ank
oe a ee pl tink eae tA eres Safe ideas
- ik int iidien- mea nt fe j ot mre pelea oa
it apace a et ee tee Pee ieh Peters
ay 1 er et + eld do Pa .
Ms a i. tty peta apf

a ee
 

Samantha >

Kathleen just found the text from
Tanisha saying she was going to
burn her house down.

Verizon 3G 1:46 AM

<

+1 (321) 695-3135 >

ee ee

U really don't want
these problems I'm
about to being to your
household bc i will burn

ur fking house down

U won't have a trailer
anymore

Yesterday 10:18 PM

U want me to keep
contacting all ur family
members in Alabama?
Or u gonna return my
dog to me? Otherwise
Washington county
animals and DCF will be

called tomorrow

Move to Delete from Order phot
Archive device

Wed, Aug 11, 2021 - 1:46AM

Add description...

IMG 2262.PNG

 
August 11

01:46

 

*. ai

+1 (321) 695-3135 >

i

U really don't want
these problems I'm
about to being to your
household bc i will burn
ur fking house down

U won't have a trailer
anymore

Yesterday 10:18 PM

U want me to keep
contacting all ur family
members in Alabama?
Or u gonna return my
dog to me? Otherwise
Washington county
animals and DCF will be
called tomorrow
Case 1:21-cv-00 Document 2-1 Filed 12/22/21 Page 5 of 25
5:39 7 LTE © _)
° al

< © Dog killer!!! Rot in hell! AQ \4

 

Begin forwarded message:

From: Kathleen Brown

<katryanbrown@gmail.com>
Date: September 19, 2021 at 22:08:11 CDT
To: NoLynchMobForMaulers@gmail.com

---------- Forwarded message ---------
From: Nymzie
<seductivelilnymph@gmail.com>

Date: Sun, Aug 29, 2021 at 8:47 AM

To: <katryanbrown@gmail.com>

People like you and Chris are worthless! | hope
God judges you harshly and you suffer getting
shot and dismembered In hell. You ugly cunt!

Fucking coward you all turn yourselves in. | will
out this shit out there so everyone will be able

to find you!

Kathleen Malone

 

 

SJ (J A (4j

 
ie > Be: om OO MO MIM

e

 

DFT elaTateM mayer m et A(-ta)er- 18

9 HOURS AGO
Case 1:21-cv-00 Document 2-1 Filed 12/22/21 Page 7 of 25
5:39 7 LTE © _)
° al

< © ROT IN HELL NN WV

 

 

WOU PUI VVGUCU TeoodYyev.

From: Kathleen Brown
<katryanbrown@gmail.com>

Date: September 19, 2021 at 22:06:55 CDT
To: NoLynchMobForMaulers@gmail.com
Subject: Fwd: ROT IN HELL

---------- Forwarded message ---------
From: Gabriella Caratachea
<gab.caratachea@icloud.com>

Date: Sun, Aug 29, 2021 at 10:42 AM
Subject: ROT IN HELL

To: <katryanbrown@gmail.com>

you dumb whore | hope you get shot too and
then you rot and no one cares enough to go
looking for you you're so pathetic and a fucking
retarded cunt is what you and your whole

family is

Sent from my iPhone

Kathleen Malone

 

 

EF (J A (4j

 
 

| From: tco7214482°t&67 214482 @aol.com>
Date: Sat, Aug 28, 2021 at 1:12 PM

Subject: Nala

To: <katryanbrown@gmail.com>

You will be found. | sincerely hope they take
your children, you dont deserve them . Your
best bet Is to give yourself up. People are
pledging thousands, and YOU WILL BE
FOUND YOU POS.

Sent from my Verizon, Samsung Galaxy smartphone
Case 1:21-cv-00 Document 2-1 Filed 12/22/21 Page 9 of 25
5:40 7 LTE)
° eal

 

 

Fwd:

Sent from my iPhone
Begin forwarded message:

From: Kathleen Brown
<katryanbrown@gmail.com>

Date: September 19, 2021 at 22:09:00 CDT
To: NoLynchMobForMaulers@gmail.com
Subject: Fwd:

---------- Forwarded message ---------
From: Seth Johnson <sethj4352@gmail.com>
Date: Sun, Aug 29, 2021 at 1:12 AM

Subject:

To: <katryanbrown@gmail.com>

CUNT

Kathleen Malone

 

 

SJ (J A (4j

 
 

v-00211-MW-GRJ Document 2-1 Filed 12/22/21 Page 10 of 25

From: Nymzie _
<seductivelilnymph@gmail.com>
Date: Sun, Aug 29, 2021 at 8:47 AM

To: <katryanbrown@gmail.com>

People like you and Chris are worthless! | hope
God judges you harshly and you suffer getting
shot and dismembered in hell. You ugly cunt!
Fucking coward you all turn yourselves in. | will
put this shit out there so everyone will be able
to find you!
Case 1:21-cv-00 Document 2-1 Filed 12/22/21 Page 11 of 25
5:41 7 LTE (
° all

<@ NV

 

Fwd: Dog killer

Sent from my iPhone
Begin forwarded message:

From: Kathleen Brown
<katryanbrown@gmail.com>

Date: September 19, 2021 at 22:10:31 CDT
To: NoLynchMobForMaulers@gmail.com
Subject: Fwd: Dog killer

---------- Forwarded message ---------
From: Andrew Mcguire
<amcguirejobs@gmail.com>

Date: Sun, Aug 29, 2021 at 12:39 AM
Subject: Dog killer

To: <katryanbrown@gmail.com>

Andrew McGuire

 

 

SJ CJ A (4j

 
 

From: Diane Turk <susieturk1@yahoo.com>
Date: Sat, Aug 28, 2021 at 9:12 AM
Subject: Justice
To: katryanbrown@gmail.com
<katryanbrown@gmail.com>

If you hear a Knock on your door, from the
police, you might as well open it | believe it's
going to be....

#\usticefornala

Sent from Yahoo Mail on Android
Case 1:21-cv-00 Document 2-1 Filed 12/22/21 Page 13 of 25
5:41 7 LTE)
° all

< © What were you thinking? “\ 4

Sent from my iPhone
Begin forwarded message:

From: Kathleen Brown
<katryanbrown@gmail.com>

Date: September 19, 2021 at 22:12:29 CDT
To: NoLynchMobForMaulers@gmail.com
Subject: Fwd: What were you thinking?

---------- Forwarded message ---------
From: cattherine migliano
<catherinemiglianoohd7/@gmail.com>
Date: Sat, Aug 28, 2021 at 8:50 PM
Subject: What were you thinking?

To: <katryanbrown@gmail.com>

Legally this will not end well for you. | can't
believe what you did to that poor dog. We're
moving to have DCF take your kids from you.

Kathleen Malone

 

SJ (J A (4j

 
 

| TT FOPWeat- eG) th paadG.e.m-------—
From: Maschielle Peterson
<maschielleo@gmail.com>

Date: Sat, Aug 28, 2021 at 11:35 AM
Subject: NALA

To: katryanbrown@gmail.com
<katryanbrown@gmail.com>

I'm not even going to address you , because
you do not deserve it. You murdered nala and
you think you got away with it, but you will pay
You will sit in prison for a long time.

And so will that piece of shit that you married!
And so will that piece of shit that you married!

You have no idea what you started!

And wherever your children end up it's gonna
be a far better cry than being with you and your
husband!!!

RIP NALA!
Case 1:21-cv-00211-MW-GRJ Document 2-1 Filed 12/22/21 Page 15 of 25

5:41 7 ol LTE)

< © Your kid will die NN

 

---------- Forwarded message ---------

From: EmMun Kapareoprues <karageorgievemil@gmail.com>
Date: Sat, Aug 28, 2021 at 11:32 PM

Subject: Your kid will die

To: <katryanbrown@gmail.com>

Your daughter will die tortured till death and you will be watching it!!!
JUSTICE FOR NALA

Kathleen Malone

ri

Justice for Nala

, 7

 

 

 

 

 

 
 

From: Justin Binkley a
<justinbinkley652@gmail.com>
Date: Sat, Aug 28, 2021 at 5:10 AM
Subject: Bitch we coming
To: <katryanbrown@gmail.com>

 

We coming for ur family bitch and ur kids are
going to just be collateral damage when we
find u and ur kids we are going to kill and
torture anyone in ur family bitch Noone
deserves to live in ur life just Know bitch we are
going to hunt u down till u can't fucking do shit
Case 1:21-cv-00 Document 2-1 Filed 12/22/21 Page 17 of 25
5:41 7 LTE (
° af

<@ NV

 

Fwd: Nala

Sent from my iPhone
Begin forwarded message:

From: Kathleen Brown
<katryanbrown@gmail.com>

Date: September 19, 2021 at 22:17:53 CDT
To: NoLynchMobForMaulers@gmail.com
Subject: Fwd: Nala

---------- Forwarded message ---------

From: Yeeney <yeeney/74@gmail.com>
Date: Sat, Aug 28, 2021 at 7:13 PM

Subject: Nala
To: <katryanbrown@gmail.com>

What happened to that dog? Your husband do
that? Your poor kid.

 

 

 
 

From: Emun Kapareoprues <karageorgievermn@GMalS@Wwcrs Document 2-1. Filed 12/22/21 Page 18 of 25
Date: Sat, Aug 28, 2021 at 6:17 AM

Subject:
To: <katryanbrown@qmail.com>

Monsters do you know what is Russian mafia?! If not you will meet them soon!!! They'll pay you for Cruelty and torturing Nala till death!!!
Will pay to your family double!

a

Kathleen Malone

    

“a i

4

 

 
Case 1:21-cv-00 Document 2-1 Filed 12/22/21 Page 19 of 25
5:41 7 LTE (
° all

<@ NV

 

Sent from my iPhone
Begin forwarded message:

From: Kathleen Brown

<katryanbrown@gmail.com>
Date: September 19, 2021 at 22:17:41 CDT
To: NoLynchMobForMaulers@gmail.com

Subject: Fwd:

---------- Forwarded message ---------
From: Fior Espinal <dalismari17@gmail.com>
Date: Sat, Aug 28, 2021 at 8:30 PM

Subject:
To: <katryanbrown@gmail.com>

You can run but you can’t hide forever ! Watch

Sent from my iPhone

Kathleen Malone

 

 

EF (J A (4j

 
 

From: Will W <iamthewillist@gmail.com>
Date: Sat, Aug 28, 2021 at 3:11 AM
Subject: NALA
To: <katryanbrown@gmail.com>

I'm coming for you, your husband and that ugly
little cunt daughter of yours. White trash needs
to be burned. Got to go, | have to be at 3783
Skipper rd in a bit.

 
Case 1:21-cv-00 Document 2-1 Filed 12/22/21 Page 21 of 25
5:41 7 LTE (
° af

 

 

Sent from my iPhone
Begin forwarded message:

From: Kathleen Brown

<katryanbrown@gmail.com>
Date: September 19, 2021 at 22:18:05 CDT
To: NoLynchMobForMaulers@gmail.com

Subject: Fwd:

---------- Forwarded message ---------
From: Stacy Allen <armyallen89@gmail.com>
Date: Sat, Aug 28, 2021 at 7:12 PM

Subject:

To: <katryanbrown@gmail.com>

YOU ARE A MURDERER! YOU DESERVE THE
FATE THAT NALA FOUND AT YOUR HANDS. |
HOPE YOU BURN IN HELL

Kathleen Malone

 

SJ (J A (4j

 
 

| From: farmvalléyarl <farrivalléygrl@aol.com>
Date: Sat, Aug 28, 2021 at 7:53 AM

Subject: We've all found you

To: <katryanbrown@gmail.com>

You've gone viral and have been found.
It's going to be lovely to see what happens to
you next. & ‘®.,

Sent from the all new AOL app for iOS
% The re Oe eaten Ment 2-1 Filed 12/22/21
43m-€

Thank you Furever Bulky Love

 

bib

Furever Bully Love Rescue

id-@

Arbd we ae mow ive

Starting today 7Ok+

eople traveling east on l4 daily wi

= also the exit for Oran

ts right before the Conroy exit on the left hand side Conroy ic also

a =

TW

fy Like

nim

i

=

a Comment

Page 23 of 25

unty Animal Serv
ak,
ir

Lt
 

| From: olliebirdbaba’’ °°" """ "*"
<olliebirdbaba@gmail.com>

Date: 2021-08-31 5:29 a.m. (GMT-07:00)
To: katryanbrown@gmsil.com

Subject:

| hope you die a horrible death and i hope
soon.. | think soo..many people looking for you

as OS OS ee

Sent from my Galaxy
Case 1:21-cv-00211-MW-GRJ Document 2-1 Filed 12/22/21 Page 25 of 25

Debbie Taylor Darino

“Always remember... Rumors are carried by haters, spread
by fools, and accepted by idiots.”

MEMBERS!

By now you probably know who the quote and the picture
are referring to. Yep, the fake fb page with the lost
followers. It's really weird how someone decides they are
going to attempt to insult a group of people they don't
know. Do they sit up all night trying to figure out how to
pretend to be intelligent, when in fact, | must compliment
them on their ignorance. Any idiot can take words and twist
them to their liking, but it takes a fool to believe them.
That's all | have to say about that. Why would a group of
people who say they're against animal cruelty try to raise
money to defend the accused.....ignorant hypocrites is
what comes to mind. In fact, they are so ignorant that they
think spay/neuter is the same as mutilation. How dumb can
you be...

The state investigator called me this morning and updated
me on the status of the case. So far, so good. Will know
next week if this will be decided by the SA or the Grand
Jury. Should those people looking at jail be scared...no,
because they fit right in with criminals. Fortunately, | have
direct connections to people the fake fb page doesn't
have...though they think they do.

As always, | will keep you posted. | hope you have a great
night and thank you for supporting the drive to get justice
for Nala.

 
